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             IN THE UNITED STATES DISTRICT COURT FOR THE

                      WESTERN DISTRICT OF OKLAHOMA

UNITED STATES OF AMERICA,                   )
                                            )
             Plaintiff,                     )
                                            )
             v.                             )         Case No. CR-22-328-PRW
                                            )
JARED MICHAEL HARRISON,                     )
                                            )
             Defendant.                     )

                                NOTICE OF APPEAL

      Plaintiff, United States of America, pursuant to 18 U.S.C. § 3731, appeals to the

United States Court of Appeals for the Tenth Circuit from the order dismissing the

indictment with prejudice, Doc. 36, entered on February 3, 2023.

                                             Respectfully submitted,

                                             ROBERT J. TROESTER
                                             United States Attorney

                                             s/DAVID McCRARY
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                            CERTIFICATE OF SERVICE

       I hereby certify that on March 3, 2023, I electronically transmitted the attached
document to the Clerk of Court using the ECF System for filing and transmittal of a Notice
of Electronic Filing to the following ECF registrants:

      J.P. Hill and Laura K. Deskin, counsel for Jared Michael Harrison.

                                             s/DAVID McCRARY
                                             Assistant U.S. Attorney




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